  Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 1 of 69



               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

ESTATE OF JORDAN BAKER, by and )
through administrator, JANET   )           No. 4:15-cv-3495
BAKER,                         )
                               )
           Plaintiff,          )
                               )           Hon. Judge Sim Lake
           v.                  )
                               )
JUVENTINO CASTRO, et al.       )
                               )
           Defendants.         )           JURY TRIAL DEMANDED


        PLAINTIFF’S RESPONSE TO DEFENDANT CASTRO’S
              MOTION FOR SUMMARY JUDGMENT
       Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 2 of 69



                                             TABLE OF CONTENTS

I.         Nature and Stage of Proceedings ...................................................................... 1

II.        Issues to Be Decided ........................................................................................... 1

III.       Summary of Argument ....................................................................................... 2

IV.        Applicable Legal Standard ................................................................................. 3

V.         Relevant Undisputed Facts ................................................................................ 6

VI.        Castro’s Is Not Entitled to Summary Judgment For Unlawfully
           Stopping Baker.................................................................................................. 10

                A. Castro Violated Baker’s Rights Under the Fourth Amendment By
                   Forcibly Stopping Him Without Reasonable Suspicion ........................ 10

                B. There is a Dispute of Fact as to When Baker Was Seized.................... 13

VII.       Castro Violated Baker’s Rights Under the Equal Protection Cause By
           Targeting and Stopping Baker on Account of His Race .................................. 15

VIII. Castro’s Use of Deadly Force Was Excessive and Unreasonable .................... 22

       A. Applicable Law .................................................................................................. 22

                1. Deadly Force is Not Justified Without a Significant Threat of Death or
                   Serious Bodily Harm .............................................................................. 22

                2. Summary Judgment is Particularly Inappropriate Here ..................... 23

       B. The Shooting of Jordan Baker Was Unlawful and Unreasonable .................. 27

       C. Material Disputes of Fact Preclude Granting Summary Judgment On
          Plaintiff’s Deadly Force Claim ......................................................................... 30

           1. Disputes Concerning Whether Baker Was Running Away From Or
              Charging At the Officer ............................................................................... 30

           2. Disputes Concerning Baker’s Location At the Time of the Shooting ........ 33

           3. Disputes Concerning the Video and Whether Baker—Unarmed and
              Unclothed—Was Ever a “Threat” ............................................................... 41

                                                               i
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 3 of 69




         4. Disputes Whether Castro Fabricated the “Waistband” issue as Excuse He
            Knew Would be Credited ............................................................................. 44

         5. Disputes About Baker’s Injuries ................................................................. 46

         6. Baker Was, At Most, A Misdemeanor Suspect ........................................... 47

    D. Summary Judgment Is Improper, Even On Qualified Immunity Grounds,
       Due to the Extensive Material Factual Disputes ............................................ 48

    E. Castro Violated The Constitution By Refusing to Provide Medical Care to
       Jordan Baker After Shooting Him ................................................................... 51

    F. Plaintiff’s Wrongful Death and Survival Claims Are Federal Claims............ 54

CONCLUSION............................................................................................................. 56




                                                           ii
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 4 of 69



                                     TABLE OF AUTHORITIES

Abdullahi v. City of Madison, 423 F.3d 763 (7th Cir. 2005) ..................................... 24

Abraham v. Raso, 183 F.3d 279 (3d Cir.1999) ............................................................ 25

Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970)......................................................... 3

Aldini v. Johnson, 609 F.3d 858 (6th Cir.2010) ......................................................... 52

Baker v. Putnal, 75 F.3d 190 (5th Cir. 1996) .............................................................. 50

Baldwin v. Harris Cty. Sheriff Dep’t, No. 4:16-CV-2966, 2018 WL 496957
     (S.D. Tex. Jan. 19, 2018) ................................................................................... 52

Baulch v. Johns, 70 F.3d 813 (5th Cir. 1995) .................................................. 39,48, 50

Bazan ex rel. Bazan v. Hidalgo Cty., 246 F.3d 481 (5th Cir. 2001) ........... 4, 23, 25, 47

Brazier v. Cherry, 293 F.2d 401 (5th Cir. 1961) ......................................................... 55

Bridges v. Wilson, 718 F. App’x 636 (10th Cir. 2017) ................................................. 44

Brosseau v. Haugen, 543 U.S. 194 (2004) ..................................................................... 5

California v. Hodari D., 499 U.S. 621 (1991) ............................................................. 11

Carroll v. Ellington, 800 F.3d 154 (5th Cir. 2015) ....................................................... 4

Celotex Corp. v. Catrett, 477 U.S. 317 (1986)................................................................ 3

Chambers v. Pennycook, 641 F.3d 898 (8th Cir.2011) ................................................ 52

Club Retro, L.L.C. v. Hilton, 568 F.3d 181 (5th Cir. 2009) ........................................ 11

Cruz v. City of Anaheim, 765 F.3d 1076 (9th Cir. 2014) ...................................... 26, 43

Cruz v. Texas Health & Human Servs. Comm’n, No. 1:16-CV-072, 2017 WL 3605234
      (S.D. Tex. Aug. 22, 2017) .................................................................................. 19

Currie v. Chhabra, 728 F.3d 626 (7th Cir. 2013)........................................................ 52

Cyrus v. Town of Mukowonago, 624 F.3d 856 (7th Cir. 2010) ................................... 26



                                                         iii
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 5 of 69



Davis v. Romer, 600 F. App’x 926 (5th Cir. 2015) ...................................................... 27

Dawson v. Anderson Cty., Tex., 566 F. App’x 369 (5th Cir. 2014) ............................. 14

Deville v. Marcantel, 567 F.3d 156 (5th Cir.2009)...................................................... 14

Dufour-Dowell v. Cogger, 152 F.3d 678 (7th Cir. 1998) ............................................. 50

Duke v. Duckworth, 236 F. App’x 86 (5th Cir. 2007) .................................................. 22

Dyer v. City of Mesquite, Texas, 2017 WL 118811 (N.D. Tex. Jan. 12, 2017) ...... 54, 55

Ellison v. Lesher, 796 F.3d 910 (8th Cir. 2015) .......................................................... 51

Estate of Sizer by & through Sizer v. Cameron, No. A-15-CA-01143-SS,
      2017 WL 2418316, (W.D. Tex. June 1, 2017) ................................................... 55

Farmer v. Brennan, 511 U.S. 825 (1994) .................................................................... 52

Fisher v. Univ. of Tex. at Austin, 133 S. Ct. 2411, 2418 (2013) ................................. 15

Flores v. Cameron Cty., 92 F.3d 258 (5th Cir. 1996) .................................................. 54

Flores v. City of Palacios, 381 F.3d 391 (5th Cir. 2004) ............................. 4, 22, 23, 24

Flythe v. District of Columbia, 791 F.3d 13 (D.C. Cir. 2015) ..................................... 25

Fraire v. City of Arlington, 957 F.2d 1268 (5th Cir. 1992) ......................................... 23

Gates v. Tex. Dep’t of Protective & Reg. Servs., 537 F.3d 404 (5th Cir. 2008) ............. 3

Gooden v. Howard County, Md., 954 F.2d 960 (4th Cir.1992) ................................... 25

Graham v. Connor, 490 U.S. 286 (1989) ............................................................... 22, 48

Haggerty v. Tex. S. Univ., 391 F.3d 653 (5th Cir. 2004) .............................................. 4

Hampton Co. Nat’l Sur., LLC v. Tunica Cnty., Mississippi, 543 F.3d 221
    (5th Cir. 2008) ................................................................................................... 22

Hare v. City of Corinth, Miss., 74 F.3d 633 (5th Cir. 1996) ....................................... 52

Hartman v. Cty. of Nassau, 350 F. App’x 477 (2d Cir. 2009) ..................................... 28



                                                           iv
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 6 of 69



Hatcher v. Bement, 676 F. App’x 238 5th Cir. 2017) ............................................ 23, 29

Hegarty v. Somerset County, 53 F.3d 1367 (1st Cir. 1995) ........................................ 26

Hein v. North Carolina, 135 S. Ct. 530 (2014)............................................................ 11

Hope v. Pelzer, 536 U.S. 730 (2002)............................................................................. 30

In Tolan v. Cotton, 134 F. Ct. 1861 (2014)......................................................... 4, 5, 24

Ingle ex rel. Estate of Ingle v. Yelton, 439 F.3d 191 (4th Cir.2006) ............................ 25

Jefferson v. Lewis, 594 F.3d 454 (6th Cir.2010) ......................................................... 25

Johnson v. Eggebrecht, No. 9:14-CV-144, 2015 WL 9703791,
     (E.D. Tex. Dec. 28, 2015)................................................................................... 13

King ex rel. Chaney v. Texas Med. Bd., 576 F. App’x 353 (5th Cir. 2014) ................. 55

Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015) ........................................................ 52

Kinney v. Weaver, 367 F.3d 337 (5th Cir. 2004) ......................................................... 36

Kirby v. Duva, 530 F.3d 475 (6th Cir. 2008) ............................................................... 29

Lincoln v. Turner, 874 F.3d 833 (5th Cir. 2017) ......................................................... 11

Lindquist v. City of Pasadena Tex., 669 F.3d 225 (5th Cir. 2012) ............................. 21

Ludwig v. Anderson, 54 F.3d 465 (8th Cir.1995)........................................................ 26

Lytle v. Bexar County, 560 F.3d 404 (5th Cir. 2009) ............................................ 27, 49

Mace v. City of Palestine, 333 F.3d 621 (5th Cir. 2003) ............................................. 52

Meadours v. Ermel, 483 F.3d 417 (5th Cir. 2007) .................................................. 4, 49

Madours v. Ermel, 2005 WL 1S923596 (S.D. Tex. Aug. 10, 2005) ............................ 23

Manis v. Lawson, 585 F.3d 839 (5th Cir. 2009) .......................................................... 42

Maravailla v. United States, 60 F.3d 1230 (7th Cir. 1995) ........................................ 26

Martin v. Tipton, 2006 WL 1804621 (E.D. Tex. June 28, 2006) ................................ 13

                                                         v
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 7 of 69



Mason v. Lafayette City-Parish Consol. Gov’t, 806 F.3d 268 (5th Cir. 2015) .. 6, 23, 47

McIntosh v. Smith, 690 F. Supp. 2d 515 (S.D. Tex. 2010) ......................................... 52

McLin v. Ard, 866 F.3d 682 (5th Cir. 2017) ................................................................ 10

Newman v. Guedry, 703 F.3d 757 (5th Cir. 2012) ........................................................ 6

O’Bert ex rel. Estate of O’Bert v. Vargo, 331 F.3d 29 (2d Cir.2003) ........................... 25

Pierre ex rel. Pierre v. Hardy, 2014 WL 454945 (E.D. La. Sept. 12, 2014) ................ 43

Plakas v. Drinski, 19 F.3d 1143 (7th Cir. 1994) ................................................... 24, 25

Ramirez v. Martinez, 716 F.3d 369 (5th Cir 2013) ....................................................... 4

Reese v. Anderson, 926 F.2d 494 (5th Cir. 1991) ........................................................ 42

Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133 (2000) .......................... 18

Releford v. Rosemon, 678 F. App’x 267 (5th Cir. 2017) .............................................. 28

Resendiz v. Miller, 203 F.3d 902 (5th Cir. 2000) ........................................................ 11

Reyes v. Bridgwater, 362 F. app’x 403 (5th Cir. 2010) ............................................... 48

Rhyne v. Henderson County, 973 F.2d 386 (5th Cir.1992) ......................................... 54

Richards v. Lufkin Indust., Inc., 2017 WL 5988591 (E.D. Tex. Dec. 1, 2017)........... 14

Robinson v. Johnson, 975 F. Supp. 950 (S.D. Tex. 1996) ............................... 54, 55, 56

Robinson v. Orient Marine Co., 505 F.3d 364 (5th Cir. 2007)...................................... 3

Rockwell v. Brown, 664 F.3d 985 (5th Cir. 2011) ....................................................... 23

Rutherford v. Harris County, Texas, 197 F.3d 173 (5th Cir.1999) ............................ 56

Samples on Behalf of Samples v. City of Atlanta, 846 F.2d 1328 (5th Cir.1988) ...... 44

Sanchez v. Fraley, 376 F. App’;x 499 (5th Cir. 2010) ................................................. 23

Scott v. Harris, 550 U.S. 372 (2007) ........................................................................ 4, 23



                                                        vi
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 8 of 69



Shaw v. Reno, 509 U.S. 630 (1993) ............................................................................. 15

Sherrod v. Berry, 856 F.3d 802 (7th Cir. 1988) .......................................................... 43

Tarver v. City of Edna, 410 F.3d 745 (5th Cir. 2005) ............................................. 4, 14

Taylor v. Johnson, 257 F.3d 470 (5th Cir. 2001) ........................................................ 15

Tennessee v. Garner, 471 U.S. 1 (1985) ......................................................................... 2

Terry v. Ohio, 392 U.S. 1, 19 (1968) ............................................................................ 10

Thomas v. Great Atl. & Pac. Tea Co., 233 F.3d 326 (5th Cir. 2000) .......................... 25

Trammell v. Gruge, 868 F.3d 332, 340 (5th Cir. 2017) .............................................. 48

Trent v. Wade, 776 F.3d 368 (5th Cir. 2015)............................................................... 29

Turk v. Mangum, 268 F.Supp.3d 921 (S.D. Tex. 2017) .............................................. 55

United States v. Am. Commercial Lines, L.L.C., 875 F.3d 170 (5th Cir. 2017) ........... 3

United States v. Brown, 561 F.3d 420 (5th Cir. 2009) ............................................... 15

United States v. Hackett, 638 F.2d 1179 (9th Cir. 1980) ............................................ 45

United States v. Lomprez, 472 F.2d 860 (7th Cir. 1972) ............................................ 45

United States v. Ramos, 537 F.3d 439 (5th Cir. 2008) ............................................... 28

Vaughn v. Woodforest Bank, 665 F.3d 632 (5th Cir. 2011) .................................. 18, 19

Village of Arlington Heights v. Metropolitan Housing Development Corp.,
      429 U.S. 252 266 (1977) .................................................................................... 15

Wallace v. City of Alexander, Arkansas, 843 F.3d 763 (8th Cir. 2016) ...................... 28

Williams v. Village of Maywood, 2016 WL 4765707 (N.D. Ill. Sept. 13, 2016) ......... 51

Zia Trust Co. ex. rel. Causey v. Montoya, 587 F.3d 1150 (10th Cir. 2010) ................ 51




                                                        vii
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 9 of 69



                             STATUTES AND OTHER AUTHORITIES


Catherine T. Struve, The Conditions of Pretrial Detention,
     161 U. PENN L. REV. 1009 (2013) ...................................................................... 52

Cynthia Lee, Making Race Salient: Trayvon Martin & Implcit Bias in a
     Not Yet Post-Racial Society, 91 N.C. L. REV. 101, 115-25 (2013) .................... 20

Rebecca L. Toprek, Violence against Individuals and Communities: Reflecting
      on the Travon Martin Case, 5 J. SOC. ACTION IN COUNSELING &
      PSYCH. 1, 4 (2013).............................................................................................. 20

FED. R. CIV. P. 56 ........................................................................................................... 3

TEX. CIV. PRAC. & REM. CODE § 71.004 ....................................................................... 54

Texas Penal Code § 22.01 ............................................................................................ 48

U.S. CONST. AMD. XIV, § 1 ........................................................................................... 15




                                                             viii
      Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 10 of 69



SUMMARY JUDGMENT EVIDENCE

        In support of this response, Plaintiff relies upon and incorporates herein by

reference the following evidence:

1.      Deposition Excerpts of Janet Baker – FILED UNDER SEAL

2.      Wireless Store Video

3.      Enlarged Wireless Store Video

4.      Castro Homicide Statement – FILED UNDER SEAL

5.      Castro Internal Affairs Statement – FILED UNDER SEAL

6.      Castro Grand Jury Transcript – FILED UNDER SEAL

7.      Deposition Excerpts of Juvenito Castro

8.      Selected Scene Photos – FILED UNDER SEAL

9.      Statement of Magnolia Martinez – FILED UNDER SEAL

10.     Autopsy Report – FILED UNDER SEAL

11.     Dr. Jonathan Arden Declaration & Exhibits

12.     Deposition Excerpts of Dr. Roger Milton – FILED UNDER SEAL

13.     Brian T. Weaver Declaration & Exhibits

14.     Deposition Excerpts of Michael Dirden & Exhibit 2

15.     Stephanie Seguino Declaration & Exhibits

16.     Deposition Excerpts of Lt. Brady

17.     Deposition Excerpts of Lt. Becker

18.     Jonathyn Priest Report

19.     Deposition Excerpts of Jonathyn Priest

20.     Jonathan Priest Supplemental Report



                                            ix
      Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 11 of 69




21.     Deposition Excerpts of Bender

22.     Exhibit 4 from Investigator Torres Deposition (Scene Photo)

23.     Deposition Excerpts of Ofc. Menefee

24.     Andrew Scott Declaration & Exhibits

25.     Article, Making Race Salient: Trayvon Martin and Implicit Bias in a Not Yet
        Post-Racial Society, Cynthia Lee

26.     Article, Violence against Individuals and Communities: Reflecting on the
        Trayvon Martin Case – An Introduction to the Special Issue, Rebecca
        Toporek

27.     Deposition Excerpts of Brian T. Weaver




                                           x
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 12 of 69



   I.       Nature and Stage of Proceedings

         This action is before the Court on Defendant Castro’s motion for summary

judgment. Defendant Castro has not sought summary judgment on Plaintiff’s claim

that his use of non-fatal force violated his constitutional rights, in so far as Plaintiff

can tell. So, this matter will proceed to trial. Because Plaintiff settled this action

with Defendant RPI Management Company, LLC & RP Interest I, Plaintiff agrees

that dismissal of the 42 U.S.C. § 1985 conspiracy claim is appropriate. Subject to

that one caveat, the motion should be denied.


   II.      Issues to Be Decided

         A. Whether Castro’s Motion Should Be Denied for Failing to Apply Rule 56

         B. Whether Fact Disputes Preclude Summary Judgment on Plaintiff’s
            Unlawful Stop Claim Under the Fourth Amendment

         C. Whether Disputes Preclude Summary Judgment on Plaintiff’s Equal
            Protection Claim

         D. How to Evaluate Plaintiff’s Deadly Force Claim, Since Castro Is the Only
            Surviving Witness

         E. Whether Castro Can Obtain Summary Judgment For Killing an
            Unarmed, Fleeing Suspect

         F. Whether Fact Disputes Preclude Summary Judgment on Plaintiff’s
            Deadly Force Claim

         G. Whether Castro Has Carried His Burden With Respect to The Remaining
            Claims
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 13 of 69



   III.   Summary of Argument

      This action concerns the treatment of Jordan Baker by Defendant Juventino

Castro—an HPD officer working an extra job—after Baker entered a place of public

accommodation and broke no laws. Though he had committed no crime and there

was no reasonable suspicion, Defendant Castro stopped Baker because he was an

African-American man wearing a hooded sweatshirt, a violation of the Fourth

Amendment. As the foregoing suggests, and as Castro has admitted, Baker was

stopped at least in part, due to his race, in violation of the Equal Protection Clause

of the Fourteenth Amendment.

      Thereafter, Defendant Castro shot and killed Jordan Baker. Plaintiff

maintains that Jordan Baker—unarmed, wearing sandals, and shirtless—was

moving away from Officer Castro at the time Castro shot and killed him. Under this

version of events, Castro violated clearly established law. Tennessee v. Garner, 471

U.S. 1 (1985). By contrast, Officer Castro’s account, which is beyond implausible,

has Baker “charging” at the officer while he was pointing a gun at Baker (who, it’s

undisputed, was unarmed, sandal-wearing, and shirtless).

      Unfortunately, Castro has sought summary judgment while presuming his

version of events. But, Castro cannot seek summary judgment while presuming his

version of events: (1) it would be contrary to the summary judgment standards

applicable here; (2) there are significant material disputes of fact, given that

Castro’s version of events is contradicted by objective evidence; and (3) even

Castro’s own story is so inconsistent that it precludes granting summary judgment.



                                           2
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 14 of 69



These are the sorts of fact disputes the Fifth Circuit and other courts have

consistently found precluded summary judgment in deadly force cases.

         After the shooting, rather than attempting to render any medical aid

whatsoever, Castro handcuffed Baker and left him lying face-down to die in a pool

of his own blood. This violated the Fourth Amendment, too. Jordan Baker left a

young son, who is now growing up without his dad. Baker also left a mother, whose

grief is unimaginable. They have brought claims that cannot be dismissed either.

         There are deep, contentious issues at the core of this suit. But they cannot be

decided at summary judgment; the task must be left to the jury.

   IV.      Applicable Legal Standard

         Summary judgment under Rule 56 of the Federal Rules of Civil Procedure is

only appropriate when the Court, viewing the record as a whole and in the light

most favorable to the nonmoving party, determines that there exists no genuine

issue of material fact and that the moving party is entitled to judgment as a matter

of law. See FED. R. CIV. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317, 322-24 (1986);

United States v. Am. Commercial Lines, L.L.C., 875 F.3d 170, 173 (5th Cir. 2017)

(citing Robinson v. Orient Marine Co., 505 F.3d 364, 365 (5th Cir. 2007)). “A genuine

issue of material fact exists when the evidence is such that a reasonable jury could

return a verdict for the non-moving party.” Gates v. Tex. Dep’t of Protective & Reg.

Servs., 537 F.3d 404, 417 (5th Cir. 2008). The burden is on the moving party to

make such a showing. See Adickes v. S.H. Kress & Co., 398 U.S. 144, 161 (1970).




                                            3
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 15 of 69



      When seeking summary judgment, the moving party must accept as true the

opposing party’s version of events in order assess whether, in the absence of factual

disputes, judgment as a matter of law is appropriate. Scott v. Harris, 550 U.S. 372,

380 (2007); cf. Ramirez v. Martinez, 716 F.3d 369, 374, 379 (5th Cir 2013) (looking

at the plaintiff’s “versions of the facts as supported by the summary judgment

record”); Tarver v. City of Edna, 410 F.3d 745, 753 (5th Cir. 2005) (“Any credibility

determination made between the officers’ and [plaintiff’s] version of events is

inappropriate for summary judgment. (citing Bazan v. Hidalgo County, 246 F.3d

481, 492 (5th Cir. 2001)); Carroll v. Ellington, 800 F.3d 154, 168 (5th Cir. 2015) (“If

a fact is not undisputed, we must ‘accept the plaintiffs’ version of the facts as true.’ ”

(quoting Haggerty v. Tex. S. Univ., 391 F.3d 653, 655 (5th Cir. 2004) (a court’s

qualified immunity inquiry at summary judgment requires the court “accept the

plaintiff’s version of the facts (to the extent reflected by proper summary judgment

evidence) as true”). Where disputes of material fact exist, they preclude the

imposition of summary judgment. Cf. Meadours v. Ermel, 483 F.3d 417, 423 (5th

Cir. 2007) (“In order to determine the reasonableness in the case at bar, several key

factual disputes must be resolved. . . . Given the need to determine these types of

facts, this dispute is material to the outcome of the case and the officers are not

entitled to summary judgment.” (citing Flores v. City of Palacios, 381 F.3d 391, 399

(5th Cir. 2004)).

      These rules apply even where officers invoke the defense of qualified

immunity. In Tolan v. Cotton, the Supreme Court explained that under either



                                            4
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 16 of 69



immunity prong, “courts may not resolve genuine disputes of fact in favor of the

party seeking summary judgment.” 134 F. Ct. 1861, 1866 (2014) (citing Brosseau v.

Haugen, 543 U.S. 194, 195 n. 2 (2004)). There, the Court emphasized the

“importance of drawing inferences in favor of the nonmovant, even when . . . a court

decides only the clearly established prong of the [qualified immunity] standard.” Id.

Tolan dealt with an excessive force claim and reversed the grant of summary

judgment because the Fifth Circuit had “failed to view the evidence at summary

judgment in the light most favorable to Tolan with respect to the central facts” of

the case. Id.




                                          5
    Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 17 of 69



    V.      Relevant Undisputed Facts1

         Jordan Baker used to live just a few blocks away from 5700 West Little York,

and would frequently ride his bicycle over there. Ex. 1, Janet Baker Dep. at 60. In

2014, Jordan Baker had a 10 year old son, whom he was the primary caretaker for.

The most important thing for Jordan Baker was his son. In addition, Baker was

extremely close with his mother—they were close friends. Id. at 51.

         On January 16, 2014, Mr. Baker left his home on his bicycle. He did not plan

on being gone long—he was not wearing an undershirt and only put on sandals as

he left the house.

         Jordan Baker entered the parking lot of a strip mall at 5700 West Little

York, Houston, TX while riding his bicycle. Ex. 2, Video at 20:41:19 to 20:41:23 Ex.

3. Enlarged Video, at 20:41:19 to 20:41:23. He was alone, riding his bike at a normal

pace, and had not committed any crimes. Id. Nor was there a “crime in progress” or

anything of that nature. Id. Ex. 4, Castro Homicide Statement at 2; Ex. 5, Castro

IA Statement, at 3; Ex. 6, Castro Grand Jury Tr. at 45. Id. Jordan Baker was

unarmed, had sandals on his feet, and was not wearing any sort of bandana or mask

over his face. Ex. 2, at 20:41:19 to 20:41:23; Ex. 3, at 20:41:19 to 20:41:23. As Jordan

Baker entered the parking lot, he was not peering into the window of the Little

Caesars restaurant (or any other business); he was just riding his bike through the

parking lot. Id. Though Baker was wearing a sweatshirt with a hood, at the time he

1At this juncture, the facts must be stated and considered in the light most favorable to
Plaintiff. See Mason v. Lafayette City-Parish Consol. Gov’t, 806 F.3d 268, 271-72 (5th Cir.
2015) (citing Newman v. Guedry, 703 F.3d 757, 761 (5th Cir. 2012). As discussed below,
infra Part VI, Castro’s motion should be denied because it is premised upon assuming his
version of the facts, which are hotly disputed.
                                              6
    Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 18 of 69



entered the parking lot and rode his bike by, the hood was down on his neck and his

head was exposed. Ex. 2, at 20:41:22-23.2

      That night, Defendant Castro was working a second job in police uniform at

that strip mall. Ex. 4, at 1. Castro saw Jordan Baker and decided to stop him, even

though Baker had committed no crime. Part of the reason Castro stopped Baker

was due to his race: he saw that Baker was an African-American man. Ex. 6, at 46.

Castro did not have reasonable suspicion to believe Baker committed a crime,

because Baker had not done anything criminal—he had ridden solely in one “U”

through the parking lot. Ex. 2, at 20:41:42; Ex. 6, at 45. Nonetheless, Officer Castro

used his unmarked police car to initiate a traffic stop. Ex. 2, at 20:41:53; Ex. 3, at

20:41:53.

      In so doing, Castro did not actually strike Mr. Baker. However, while he

claims he had good reason making the stop, Castro ended up “

                              ; Ex. 2, at 20:41:53; Ex. 3, at 20:41:53. Castro admits

that Baker had a right to peddle away on his bicycle at that time. Ex. 6 at 129.

However, Baker had been seized by the fact Castro had initiated a stop and by the

manner in which Castro had placed his car, nearly pinning Baker against a hedge.

Ex. 8, Scene Photos, at 518, 522.3 Castro also knew that Baker did not want to be



2 Plaintiff understands the quality is not ideal, but, after watching this portion of
the video dozens of times, including at a number of speeds, one can make out the
features of Mr. Baker’s head in the video just before he exists the screen (meaning
his hood was down, not up) especially if the tape is viewed from 20:41:22 to
20:41:24.
3 The photos have been Bates-stamped by the City of Houston, and references to

this exhibit 8 are to the BAKER-COH bates stamp.
                                            7
Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 19 of 69
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 20 of 69



      Castro then pointed his gun at Baker, who turned and ran back behind the

strip mall. Ex. 2, at 20:32:55 to 43:05; Ex. 3, at 20:32:55 to 43:05. Officer Castro

began to walk (not run) back to his car, but eventually decided to follow Baker. Id.

      Behind the strip mall, Jordan Baker tripped and fell on the concrete in the

alley. Ex. 10, Autopsy Report; Ex. 11, Declaration of Jonathan Arden, with exhibits,

at 3; Ex. 12, Milton Deposition at 40-50, 58-59. These wounds caused damage to Mr.

Baker’s torso. Ex. 10, Autopsy Report; Ex. 12, Milton Deposition at 40-50.

      Baker then saw Castro coming his way, toward the alley, and Castro again

pointed his firearm at Baker. Ex. 4, at 4; Ex. 5, at 3. Castro was shirtless, unarmed,

and wearing sandals. Ex. 8, 649, 655; Ex. 6 at 87.

      Not wanting to be shot, Baker again tried to get away. This time, however,

Castro shot Baker as he turned away to his right. Ex. 11, at 4; Ex. 13, Weaver

Report at 21, 24-27. Baker was turned so significantly to the right that the bullet

struck him on the left side of his chest, near his nipple, and went almost completely

side-to-side through his body; traveling through both of the lungs and heart. Ex. 12,

at 29-34; Ex. 10; Ex. 11, at 3; Ex. 13, at 10; Ex. 20, Priest Supp. Report at 5.

      At the time of the shooting, in the alley, facing to the west, very near where

his spent bullet casing was marked. At the time of the shooting, Baker was down

the alley and near to the backside of the building, where he left a trail of blood. Ex.

8, at 649; Priest Deposition at 100-02. Castro was located at an upward elevation

from Baker, Ex. 22, Torres Exhibit 4; Ex. 13, at 10, resulting in a slight downward

trajectory. Ex. 10; Ex. 11, Arden Report at 3.



                                            9
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 21 of 69



           Baker continued to attempt to move away from the officer, but struggled

mightily, owing to the fact that his lungs were filling with blood and he was in

extreme pain. Ex. 11, Arden Report at 5. Baker lost a sandal, made it a few more

feet, and then collapsed on the ground. See Ex. 8, at 611,667; Ex. 23, Menefee Dep.

at 59; Ex. 19, Priest Dep. at 161; Baker left a trail of blood from the location where

he was shot to the place where he would ultimately fall, documenting his path. Ex.

8, at 146-48, 150-51, 154 The pain was unimaginable. Ex. 12, at 53-54; Ex. 11, at

5.

           Rather than provide any care, and though he could hear Baker breathing

heavily, Castro handcuffed Baker’s hands to his belt without even checking for a

pulse. Ex. 7, at 83-84, 230-31. Baker died at the scene. Id. at 83.

           As a consequence, J.B., Baker’s son, will grow up without a father, and has

suffered tremendous emotional pain. Ex. 1, at 68-73. Likewise, Janet Baker, Jordan

Baker’s mother, will never get her only child back. Ex. 1, 61-63. Nor will she ever be

able to fill the gap caused by Castro’s decision to shoot and kill an unarmed citizen.


     VI.      Castro Is Not Entitled to Summary Judgment For Unlawfully
              Stopping Baker

              A. Castro Violated Baker’s Rights Under the Fourth Amendment
                 By Forcibly Stopping Him Without Reasonable Suspicion

           “A person is ‘seized’ for Fourth Amendment purposes ‘when the officer, by

means of physical force or show of authority, has in some way restrained the liberty

of a citizen.’” McLin v. Ard, 866 F.3d 682, 691 (5th Cir. 2017) (quoting Terry v. Ohio,

392 U.S. 1, 19 & n.16 (1968)). A seizure occurs where, “in view of all of the


                                             10
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 22 of 69



circumstances surrounding the incident, a reasonable person would have believed

that [they were] not free to leave.” Id. (internal quotation marks omitted) (alteration

in original). “The reasonable-person test is objective.” Id. “Physical force is not

required to effect a seizure; however, absent physical force, ‘submission to the

assertion of authority’ is necessary.” Id. (quoting California v. Hodari D., 499 U.S.

621, 626 (1991)). A central Fourth Amendment tenant is that the reason for

stopping a particular individual must be based upon that particular individual. Put

differently, a seizure “must be based on probable cause particularized with respect

to that person.” Club Retro, L.L.C. v. Hilton, 568 F.3d 181, 208 (5th Cir. 2009).

“Probable cause exists when the totality of facts and circumstances within a police

officer’s knowledge at the moment of arrest are sufficient for a reasonable person to

conclude that the suspect had committed or was committing an offense.” Resendiz v.

Miller, 203 F.3d 902, 903 (5th Cir. 2000) (per curiam).

       In the context of a traffic stop, officers need a “particularized and objective

basis for suspecting the particular person stopped of breaking the law.” Hein v.

North Carolina, 135 S. Ct. 530, 536 (2014). Accordingly, “suspicion of unidentified

criminal activity is not the kind of particularized and objective basis for suspecting

legal wrongdoing that is necessary to support detention.” Lincoln v. Turner, 874

F.3d 833, 843 (5th Cir. 2017) (citation omitted).

       Here, it is puzzling that Officer Castro would seek summary judgment on this

claim. The video of the traffic stop indicates that it was just that: a traffic stop of

Jordan Baker (on a bicycle) being stopped by a police officer (in a car). Ex. 3, at



                                            11
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 23 of 69



20:41:53. Given the video, and images there is no doubt that no reasonable person,

and Baker did not, feel free to leave; he was seized.

      And, on Castro’s own account, that is the only reasonable interpretation of

events. According to Castro, Baker was trying to avoid him, and Castro then drove

his car across a parking lot to interact with him, and then continued to pursue and

command Baker. Even when after the stop (which Plaintiff contends actually

caused Baker to be knocked off of his bike), Castro would not let him be. Ex. 6, at

51-52; Ex. 7, at 129, 177. Castro has testified that it is clear Baker did not want to

be interacting with the officer, and testified that Baker tried to walk away before

the officer called him back. Ex. 6, at 57-58. Thus, regardless of whether Castro

caused Baker to fall off of his bike (an act of force), or whether Castro merely used

his show of authority as a police officer to get Baker to stop, there is no doubt that

Baker was stopped, and that he was stopped without particularized suspicion to

believe Baker was committing a crime.

      Indeed, Office Castro admits that he did not have reasonable suspicion to

stop Baker when he drove across the parking lot and stopped him. Ex.6 at 129; Ex.

7 at 138, 164.

      Castro no doubt intends to link Baker to the “rash” of robberies that had

happened in the weeks before. But Castro’s position only proves that he was over-

zealous. The video of the encounter contradicts Castro’s claim that Baker was

“casing” the Little Ceasars; and, in the light most favorable to plaintiff, the video

also shows that Baker’s hood was down. See supra at 8 n.2; Ex. 2, at 40:21:21-23.



                                           12
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 24 of 69



      Castro’s attempt to link Baker to the robberies is fundamentally flawed and

totally unreasonable—Baker was not wearing a bandana or any sort of covering.

Baker was alone, and all of the crimes had happened with multiple offenders. None

of them were committed by someone riding a bicycle, and certainly not by someone

wearing sandals. See Bulletin, Def. City Ex. E-3.

      At the end of the day, Castro’s only reason for stopping Baker outside of his

race and benign clothing is that Baker rode away from him after they allegedly

made eye contact. But this was certainly not enough to stop Baker, as even Castro

admits. Ex. 6 at 129; see Johnson v. Eggebrecht, No. 9:14-CV-144, 2015 WL

9703791, at *6 (E.D. Tex. Dec. 28, 2015) (“Whether Bester appeared nervous during

questioning is a fact issue for the jury.” (citing Martin v. Tipton, 2006 WL 1804621,

at *4 (E.D. Tex. June 28, 2006) (denying summary judgment in part because the

officer’s qualified immunity defense required the resolution of a fact dispute about

whether the driver appeared nervous during a traffic stop).

      Summary judgment is therefore inappropriate on this claim.

         B. There is a Dispute of Fact as to When Baker Was Seized.

   Castro’s motion does not even attempt to contend with the facts above, as he

must. Instead, he implausibly asserts a contradiction: that Baker was completely

willing to stop and chat with the officer but that the entire time Baker and Castro

were speaking Baker was acting like he wanted to run or leave. Castro’s own

testimony then belies the basis for his motion, which seeks to paint the stop as a

“consensual encounter.” At a minimum, there is a fundamental dispute about when



                                         13
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 25 of 69



Baker was initially detained. The video, and even Castro’s testimony, supports

finding that the initial stop was just that—a stop where Baker did not feel free to

leave. And, it was a stop made without reasonable suspicion. Accordingly, summary

judgment is improper on this claim.

      There are many disputes of fact about what happened during the stop itself,

even after Baker was off of his bike. The only thing known for sure is that Baker

ended up without his shirt on. Castro did not see Jordan Baker commit a crime

before the stop, and the video—Plaintiff contends—undermines Castro’s account of

the entire affair, as the video suggests both that Baker was stopped by the

unmarked car, which would have provided a clear reason for his being agitated

throughout the remainder of the encounter, as even Castro admits.

      In the end, these are the sort of factual disputes that preclude summary

judgment. See, e.g., Deville v. Marcantel, 567 F.3d 156, 167 (5th Cir.2009) (reversing

summary judgment when the nature of the plaintiff’s response to officer’s directives

during a minor traffic stop was in dispute); Tarver v. City of Edna, 410 F.3d 745,

754 (5th Cir. 2005) (“At a minimum, determining whether [the defendant officer’s]

conduct was objectively reasonable requires fact finding and credibility

assessments; dismissal is thus inappropriate at the summary judgment phase.”); cf.

Dawson v. Anderson Cty., Tex., 566 F. App’x 369, 374 (5th Cir. 2014) (“The record

evidence presents a factual dispute as to whether Dawson was argumentative

during the strip search or rather whether any verbal noncompliance on her part

was justified given the officers’ alleged harassment.”); Goodson v. City of Corpus



                                         14
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 26 of 69



Christi, 202 F.3d 730, 737-40 (finding disputed facts about the appearance of the

plaintiff precluded summary judgment on a Fourth Amendment detention claim).

   VII.   Castro Violated Baker’s Rights Under the Equal Protection Cause
          By Targeting and Stopping Baker on Account of His Race

      Under the Equal Protection Clause of the Fourteenth Amendment, state

actors are prohibited from denying “any person . . . the equal protection of laws.”

U.S. CONST. AMD. XIV, § 1. It has long been recognized that a central purpose of the

Equal Protection Clause “is to prevent the States from purposely discriminating

between individuals on the basis of race.” Shaw v. Reno, 509 U.S. 630, 642 (1993).

Indeed, “[d]istinctions between citizens solely because of their ancestry are by their

very nature odious to a free people, and therefore are contrary to our traditions and

hence constitutionally suspect.” Fisher v. Univ. of Tex. at Austin, 133 S. Ct. 2411,

2418 (2013). To prove an equal protection claim, Plaintiff need only demonstrate

that Defendant Castro singled out Jordan Baker for “disparate treatment and

selected his course of action at least in part for the purpose of causing its adverse

effect on an identifiable group.” Taylor v. Johnson, 257 F.3d 470, 473 (5th Cir.

2001). However, “[r]acial discrimination need only be one purpose, and not even a

primary purpose, of an official action for a violation to occur.” United States v.

Brown, 561 F.3d 420, 433 (5th Cir. 2009).

      In considering this question at summary judgment, a court must make a

“sensitive inquiry into such circumstantial and direct evidence of intent as may be

available.” Village of Arlington Heights v. Metropolitan Housing Development Corp.,

429 U.S. 252 266 (1977). Indeed, whether a discriminatory purpose exists “may


                                           15
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 27 of 69



often be inferred from the totality of relevant facts.” Washington v. Davis, 426 U.S.

229, 242 (1976).

      As an initial matter, Officer Castro’s decisions in stopping Jordan Baker were

informed by the practices, policies, and customs of the Houston Police Department.

Ex. 14, Dirden Deposition, at 71-73; Deposition Exhibit 2, Dirden Report, at 6-8

(discussing how the department’s “internal directives,” the “department’s

philosophy and culture of the expectation how to treat people” are “more than

sufficient to control the discretion of employees”). On that score, Jordan Baker was

part of a police department that has widespread disparities in the rate at which

black citizens are subject to traffic stops. See generally Ex. 15, Seguino Report at 4-

7. Black citizens are disproportionately stopped for police action; they are more

likely to be searched, at nearly double the rate than White and Hispanic citizens;

and they are generally arrested at much higher rates than other Houstonians. Id. at

15, 17.

      These sorts of practices—and widespread racial disparities that reveal

African-Americans are stopped at far high rates than others in Houston—certainly

impact the analysis of Castro’s decisions in interacting with Baker; the culture,

customs, and philosophy of the department influence his every day decisions. Ex.

14, at 71-73; Seguino Report at 23-24. In other words, these statistical disparities

raise an inference, especially here, that race motivated Castro’s decision.

      Moreover, in Plaintiff’s version of the facts—based on Castro’s own

testimony—race motivated Castro’s decision to stop Baker. Castro considered him



                                          16
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 28 of 69



suspicious because he was “a Black male, uh, wearing a hoodie.” Ex. 6, at 46. The

other basis for considering Baker suspicious, on Castro’s account, was that he

“made eye contact” and then “made a U turn in the opposite direction.” Id.

         This “eye contact” rationale—not a crime at all—is pretext. Indeed, the entire

suggestion that Baker could be considered a “robbery suspect” reveals that this “eye

contact” notion is pretext.

         For present purposes, what matters is that a number of disputes of fact

support the inference that Castro’s reasons are pretext, making summary judgment

inappropriate:

                The video of Baker entering the parking lot contradicts entirely

                 Castro’s claim that Baker was “casing” the businesses. On one hand,

                 Castro claims that “he was looking inside towards the Little Caesar’s

                 like if he was checking to see who was working or who was inside the

                 store.” Grand Jury at 40. On the other hand, the video shows that

                 Baker just rides by the Little Caesars at far too fast a pace, and too

                 fast a distance, to be looking into the restaurant. Ex. 3 at 20:41-20:23.

                The video of Baker entering the parking lot supports an inference that

                 Baker’s hood was down. Castro claims that “he had his hoodie on his –

                 over his head,” but the video supports an inference that Baker was not

                 wearing a hood. Id. 6




6   See supra pg. 8 n. 2.
                                              17
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 29 of 69



             The video also shows that Castro’s claim that Baker was going slowly

              before seeing the officer and then accelerated to somehow get away is

              false; Baker is going roughly the same pace when he enters the

              parking lot (and then leaves the view of the camera) and after he had

              done his “U” turn and proceeded near the bushes. Ex. 3 at 20:41:22-23

              and 20:42:00.

             Baker contradicted the description of the robbery suspects in a number

              of respects, including: (1) not having any facial covering, like a

              bandana or ski mask; (2) being on a bicycle; (3) being alone; and (4)

              wearing sandals.

      Again, even though there was no crime in progress, and there was no other

characteristic of the “burglary” suspect that matched Baker, Castro has admitted

that part of the reason he considered Baker suspicious was in fact his race.

      All of that should raise an inference that his “race neutral” reason for

stopping Baker—“making eye contact”—is the sort of pretext question that must be

resolved by a jury, not at summary judgment. See, e.g., Reeves v. Sanderson

Plumbing Products, Inc., 530 U.S. 133,147 (2000). (“Proof that the defendant’s

explanation is unworthy of credence is simply one form of circumstantial evidence

that is probative of intentional discrimination, and it may be quite persuasive.”);

Vaughn v. Woodforest Bank, 665 F.3d 632, 639 (5th Cir. 2011) (“This evidence is

sufficient to raise a genuine issue of material fact as to whether Woodforest’s

explanation is not the true reason for firing Vaughn but rather pretext for race



                                           18
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 30 of 69



discrimination. A jury could draw inferences from this evidence and reasonably

conclude that Woodforest intentionally exaggerated its concern over Vaughn’s

“unsatisfactory” conduct and that her workplace comments were not the real reason

she was fired.”); Cruz v. Texas Health & Human Servs. Comm’n, No. 1:16-CV-072,

2017 WL 3605234, at *6 (S.D. Tex. Aug. 22, 2017) (“When there is a fact issue on

pretext, summary judgment is improper, and the question should be submitted to

the jury for resolution.”); Richards v. Lufkin Indust., Inc., 2017 WL 5988591, at *2

(E.D. Tex. Dec. 1, 2017) (whether stated reasons for given action were pretext was

“left to the jury to decide, especially where there are inconsistencies in the summary

judgment record”).

      As a final note, Castro claims that there were no “similarly situated”

individuals to Baker, but Castro’s claim misses the mark. The only thing that might

distinguish Baker is the pretextual “eye contact” claim.

      But, for at least three reasons, that does not mean Baker was not similarly

situated in a manner that would somehow entitle Castro to summary judgment. For

one, as explained above, the notion that Baker was “suspicious” is subject to factual

disputes. Second, in light of those factual disputes, and in Vaughn above, a

reasonable jury could find that Castro “intentionally exaggerated” his rationale. 665

F.3d at 639.

      Third, the fact that Castro admits that there were other African American

males in hooded sweatshirts, including some on bikes, who entered the strip mall

makes matters worse, not better. All inferences are taken in Plaintiff’s favor at this



                                          19
    Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 31 of 69



juncture, and Baker was similarly situated to these individuals in materially

relevant respects. The “eye contact” excuse is the only different circumstance and it

is pretext; an exaggeration. This Court should reject finding that, as a matter of

law, all an officer who admits to using race as a factor to stop an individual

committing no crime and when no crime is in progress has to do to avoid even

potential liability on an Equal Protection Claim at summary judgment is identify a

single fact, however irrelevant or immaterial, as some sort of distinguishing factor.7

      Fourth, it is impossible to deny the role that implicit bias played in Castro’s

entire interpretation of Baker. It is not illegal to be a black man in a hooded

sweatshirt, but to Castro (and others) this bespeaks some sort of inherent

dangerousness. Implicit bias was at work here. See Ex. 24, Scott Report at 15; see

also Cynthia Lee, Making Race Salient: Trayvon Martin & Implicit Bias in a Not

Yet Post-Racial Society, 91 N.C. L. REV. 101, 115-25 (2013), attached as Ex. 25;

Rebecca L. Toprek, Violence against Individuals and Communities: Reflecting on the

Trayvon Martin Case, 5 J. SOC. ACTION IN COUNSELING & PSYCH. 1, 4 (2013)

(discussing the assumption of criminality of African-American men, including the

wearing of hoodies and the collecting relevant authorities), attached as Ex. 26.

      Indeed, even Defendant’s own expert has opined that “the Houston Police

Department recognizes that the concept of implicit bias may be a factor in

understanding police encounters with citizens, especially citizens of color.” Ex. 14,



7It must be emphasized that there was not a dispatch or “BOLO” indicating that a
crime had been occurring. Castro was not “dispatched” to the scene of a crime where
he had any particular suspect in mind.
                                          20
    Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 32 of 69



Deposition Exhibit 2, Dirden Report at 11; see also Ex. 14, Dirden Dep, at 106

(“[Y]ou agree that implicit bias occurs and that it's something that the Houston

Police Department recognizes can occur when confronting or interacting with people

of color, including African American males, right? You agree on those two things? A.

Yes.”); see also id. at 109 (testifying that the Houston Police Department “did

recognize implicit bias before this shooting and before this incident”). The City’s

30(b)(6) designee, Captain Lori Bender, claims implicit bias training is an important

issue for the department. Ex. 21, Bender Deposition at 60-61. But the City has

produced no document concerning such training. Nor could Dirden confirm that

Castro, by 2014, had been given any training on bias. Ex. 14 at 109-110.

      Instead, in addition to the fact that the entire “burglary suspect” rationale is

race-based, and in addition to the fact that Castro’s claim that Baker was “casing”

places is contradicted by the video, the law provides that a determination of who is

similarly situated, is case-specific. Courts must consider “the full variety of factors

that an objectively reasonable ... decision-maker would have found relevant in

making the challenged decision.” Lindquist v. City of Pasadena Tex., 669 F.3d 225,

233-34 (5th Cir. 2012) (citation omitted). Here, Castro knew that he could not,

without violating the Fourth Amendment, stop Baker without believing that he

committed a crime.8 But Baker had committed no crime. And he had not “cased”




8Put differently, an “objectively reasonable decisionmaker” would have known that
conducting a traffic stop of a biker committing no crime would require reasonable
suspicion, which Castro admits he did not have. For that reason, and the fact that
his claims are contradicted by other evidence, summary judgment is improper.
                                           21
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 33 of 69



any business. He was materially similar to others, or at least a reasonable jury

could so find. Accordingly, summary judgment is improper.

      Finally, Castro’s vague and passing reference to qualified immunity fails.

“There is no qualified immunity for racial discrimination as such discrimination is

clearly unconstitutional.” Hampton Co. Nat’l Sur., LLC v. Tunica Cnty., Mississippi,

543 F.3d 221, 229 (5th Cir. 2008).

   VIII. Castro’s Use of Deadly Force Was Excessive and Unreasonable

      A. Applicable Law

          1. Deadly Force is Not Justified Without a Significant Threat of
             Death or Serious Bodily Harm

      Graham v. Connor, 490 U.S. 286, 395 (1989), articulated the general

excessive force test; where courts consider the totality of the circumstances,

including the severity of the crime at issue, whether the suspect posed an

immediate threat to the safety of the officers, and whether the suspect was actively

resisting or trying to escape. That test is not the one at issue here.

      Instead, a narrower standard applies to Plaintiff’s deadly force claim because,

“[w]hen an officer uses deadly force,” test “is constrained” and it “is objectively

unreasonable to use deadly force ‘unless it is necessary to prevent [a suspect’s]

escape and the officer has probable cause to believe that the suspect poses a

significant threat of death or serious physical injury to the officer or others.’” Flores

v. City of Palacios, 381 F.3d 391, 399 (5th Cir. 2004) (quoting Garner, 471 U.S. at 3).

      Thus, the only question before the Court on this claim is whether Baker

“pose[d] a significant threat of death or serious physical injury to the officer.” Duke


                                           22
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 34 of 69



v. Duckworth, 236 F. App’x 86, 88 (5th Cir. 2007) (cites omitted); see also Hatcher v.

Bement, 676 F. App’x 238 (5th Cir. 2017) (citing Bazan v. Hidalgo, 246 F.3d 481,

488, 493 (5th Cir. 2001)); Bazan, 246 F.3d at 488, 493) (explaining that deadly force

is a subset of excessive force, which “violates the Fourth Amendment unless ‘the

officer has probable cause to believe that the suspect poses a threat of serious

physical harm, either to the officer or to others.” (quoting Garner, 471 U.S. at 11);

see also, e.g., Scott v. Harris, 550 U.S. 382 n.9 (2007) (discussing immediate threat

of serious physical harm); Sanchez v. Fraley, 376 F. App’;x 499, 451 (5th Cir. 2010)

(applying Flores); Madours v. Ermel, 2005 WL 1S923596, at *7-*8 (S.D. Tex. Aug.

10, 2005) (same);

       The deadly-force inquiry is further “confined to whether the [officer or

another person] was in danger at the moment of the threat that resulted in the

[officer’s use of deadly force].” Rockwell v. Brown, 664 F.3d 985, 991 (5th Cir. 2011)

(citing Bazan, 246 F.3d at 493 (citing Fraire v. City of Arlington, 957 F.2d 1268,

1276 (5th Cir. 1992)) (emphasis added); see also Mason v. Lafayette City-Parish

Consol. Gov’t, 806 F.3d 268, 276 (5th Cir. 2015) (“Our inquiry is limited to whether

the officer was in danger at the moment of the threat” that resulted in the use of

force.” (citations omitted)).

          2. Summary Judgment is Particularly Inappropriate Here

       As a general matter, summary judgment is inappropriate as to the question

of whether deadly force was justified, as the facts and circumstances of the case

control. And those facts and circumstances can be interpreted in vastly different



                                          23
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 35 of 69



ways. See Tolan, 134 S. Ct. at 1868 (“The witnesses on both sides come to this case

with their own perceptions, recollections, and even potential biases. It is in part for

that reason that genuine disputes are generally resolved for juries in our

adversarial system.”); Flores v. City of Palacios, 381 F.3d 391, 399 (5th Cir. 2004).

         As explained below, Castro’s account conflicts in significant respects with the

material evidence. Of course, through autopsy reports, videos, and other evidence

Plaintiff cannot possibly put together every single detail of what happened in the

alley. That’s because the only other witness to the shooting, Jordan Baker, is

deceased.

         Accordingly, in addition to the typical summary judgment rules, which

require taking inferences in Plaintiff’s favor, “summary judgment to the defense in

deadly force cases may be made only with particular care where the officer

defendant is the only witness left alive to testify.” Abdullahi v. City of Madison, 423

F.3d 763, 772 n.7 (7th Cir. 2005) (quoting Plakas v. Drinski, 19 F.3d 1143, 1147 (7th

Cir. 1994)). That is, because Baker cannot provide evidence, and Castro “knows that

the only person likely to contradict him or her is beyond reach,” this Court “must

undertake a fairly critical assessment of the forensic evidence, the officer’s original

reports or statements and the opinions of experts to decide whether the officer’s

testimony could reasonably be rejected at a trial. Id. (quoting Plakas, 19 F.3d at

1147).

         The Fifth Circuit, like other courts of appeals, has recognized this important

consideration. See Bazan ex rel. Bazan v. Hidalgo Cty., 246 F.3d 481, 492 (5th Cir.



                                            24
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 36 of 69



2001); (affirming the denial of summary judgment in a deadly force case;

scrutinizing the officers account against the physical evidence (e.g., an autopsy

report); and noting skepticism in the fact that “the evidence the Trooper claims is

uncontradicted and unimpeached comes for the most part, if not exclusively, from

an interested witness—Trooper Vargas” (citing Abraham v. Raso, 183 F.3d 279, 287

(3d Cir.1999) (“Cases that turn crucially on the credibility of witnesses’ testimony in

particular should not be resolved on summary judgment.”), and Gooden v. Howard

County, Md., 954 F.2d 960, 971 (4th Cir.1992) (Phillips, J., dissenting) (“[B]ecause

inevitably—liability being disputed—the officer’s account will be favorable to

himself, the credibility of that account is crucial.”)); cf. Thomas v. Great Atl. & Pac.

Tea Co., 233 F.3d 326, 331 (5th Cir. 2000) (“Nevertheless, when the circumstances

are conducive to lying, well-supported suspicion of mendacity may serve as a

legitimate basis for the factfinder’s reasonable inferences concerning the ultimate

facts at issue.”). Indeed, “every circuit to have confronted this situation”—where the

only other witness in the use of force situation is dead—requires a critical

examination of the officer’s account versus other evidence. Flythe v. District of

Columbia, 791 F.3d 13, 18-82 (D.C. Cir. 2015). (citing Plakas v. Drinski, 19 F.3d

1143, 1147 (7th Cir.1994); Jefferson v. Lewis, 594 F.3d 454, 462 (6th Cir.2010); Ingle

ex rel. Estate of Ingle v. Yelton, 439 F.3d 191, 195 (4th Cir.2006); O’Bert ex rel.

Estate of O’Bert v. Vargo, 331 F.3d 29, 37 (2d Cir.2003); Abraham v. Raso, 183 F.3d

279, 294 (3d Cir.1999); Ludwig v. Anderson, 54 F.3d 465, 470 n. 3 (8th Cir.1995);




                                           25
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 37 of 69



and Hegarty v. Somerset County, 53 F.3d 1367, 1376 n. 6 (1st Cir. 1995)); see also

Cruz v. City of Anaheim,765 F.3d 1076, 1077-80 (9th Cir. 2014).

      As the Court in Cruz put it:

      Nobody likes a game of “he said, she said,” but far worse is the game of
      “we said, he’s dead.” Sadly, this is too often what we face in police
      shooting cases like this one.” . . . . But in the deadly force context, we
      cannot simply accept what may be a self-serving account by the police
      officer. Because the person most likely to rebut the officers’ version of
      events—the one killed—can’t testify, the judge must carefully examine
      all the evidence in the record to determine whether the officer’s story is
      internally consistent and consistent with other known facts. This
      includes circumstantial evidence that, if believed, would tend to
      discredit the police officer’s story.


765 F.3d at 1077-80 (internal quotes and cites omitted); see also Cyrus v. Town of

Mukowonago, 624 F.3d 856 (7th Cir. 2010) (“[S]ummary judgment is often

inappropriate in excessive-force cases because the evidence surrounding the officer’s

use of force is often susceptible of different interpretations. This principle is

particularly relevant where, as here, the one against whom force was used has died,

because the witness most likely to contradict the officer’s testimony—the victim—

cannot testify.”); Maravailla v. United States, 60 F.3d 1230, 1233-34 (7th Cir. 1995)

(“[W]e are mindful of the practical problems a plaintiff alleging deadly force may

face in resisting summary judgment. As in the case before us the witness most

likely to contradict the officers’ testimony is dead. In these situations we think it

wise to examine all the evidence to determine whether the officers’ story is

consistent with other known facts.”).

      Applying these rules, it is plain summary judgment cannot be granted here.



                                           26
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 38 of 69



       B. The Shooting of Jordan Baker Was Unlawful and Unreasonable

       As detailed above, Plaintiff’s facts are as follows: Jordan Baker ran away

from Officer Castro behind the strip mall and into the alley. Baker was wearing

sandals, was unarmed, and was shirtless. At some point, Baker tripped in the

concrete alley. In the meantime, Officer Castro had made up the gap between

himself and Baker which existed because Castro had started back toward his car

before deciding to chase Baker into the alley. This is the crucial moment: as Baker

tried to continue running away from the officer down the alley, Castro then

discharged his firearm. Baker did not ever threaten or charge the officer. And it was

plain that he was unarmed, owing to the fact that Castro had seen both Baker’s

front and back in the well-lit area in the parking lot.

       Under Plaintiff’s version of events, the shooting was completely unjustified.

Castro shot an unarmed person who did not pose any threat to himself or the

officer, and who was fleeing. The Supreme Court long ago held: “[w]here [a fleeing]

suspect poses no immediate threat to the officer and no threat to others, the harm

resulting from failing to apprehend him does not justify the use of deadly force to do

so.” Garner, 471 U.S. at 11; see also Lytle, 506 F.3d at 417 (“[I]t has long been

clearly established that . . . it is unreasonable for a police officer to use deadly force

against a fleeing felon who does not pose a sufficient threat of harm to the officer or

others.”); Davis v. Romer, 600 F. App’x 926, 931 (5th Cir. 2015) (“[I]t is

constitutionally unreasonable to use deadly force on an unarmed suspect by

shooting him while he was fleeing on foot.”).



                                            27
    Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 39 of 69



       In short, a “police officer may not seize an unarmed, nondangerous suspect

by shooting him dead.” Garner, 471 U.S. at 11; see also United States v. Ramos, 537

F.3d 439, 456 (5th Cir. 2008) (“A suspect who poses no physical threat while fleeing

. . . does not present the tense situation and uncertainty that justifies the use of

deadly force.”); Releford v. Rosemon, 678 F. App’x 267, 268 (5th Cir. 2017) (“The

Supreme Court established in 1985 that “[a] police officer may not seize an

unarmed, nondangerous suspect by shooting him dead.”); see generally id. (case

involving Houston Police Department officer who shot and killed an unarmed

suspect where officer claimed that suspect was advancing on him but his claim was

disputed by other evidence and, therefore, factual disputes existed and summary

judgment was not warranted); Hartman v. Cty. of Nassau, 350 F. App’x 477, 479 (2d

Cir. 2009) (“Assuming Hartman’s version of the disputed facts and drawing all

inferences in his favor, at the time of Officer Snelders’s allegedly illegal conduct it

was not reasonable to believe that Hartman posed a danger to the officers or the

public. At that time, Hartman was running away from the officers on foot, he was

wanted only on misdemeanor charges, and there was no evidence that Hartman

then possessed a weapon.”). Moore v. Indehar, 514 F.3d 756, 763 (8th Cir. 2008)

(denying summary judgment and qualified immunity after “assuming the facts as

we must, Officer Indehar’s use of excessive force against an unarmed man who was

simply fleeing from the officers was unreasonable and a violation of the Fourth

Amendment”).9


9Other Courts have denied summary judgment in circumstances even more trying than the
one made out by Plaintiff’s facts here. See, e.g., Wallace v. City of Alexander, Arkansas, 843
                                             28
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 40 of 69



       As the cases above make clear, there should be no doubt that on Plaintiff’s

facts, Castro is not entitled to summary judgment, including on qualified immunity

grounds. This is, on Plaintiff’s facts, the precise circumstance defined in Garner—

the use of deadly force against an unarmed fleeing suspect who posed no risk of

harm to the officer or anyone else. Fourth Amendment cases “clearly establish—and

did so by 2013—that when a suspect is on foot, an officer may shoot the suspect only

if a reasonable officer could reasonably perceive that the suspect posed an

immediate and significant threat to the officer or others.” Hatcher, 676 F. App’x at

243; see also id. (discussing cases from 2007 and 2001 as clearly establishing this

proposition).

       Indeed, even without these cases, and in light of Garner alone, Castro would

certainly have had “fair warning” that shooting a fleeing, unarmed, half-naked

suspect who had done no more than try to escape an unlawful arrest was

unconstitutional. Cf. Trent v. Wade, 776 F.3d 368, 383 (5th Cir. 2015) (“A case

directly on point is not required; rather, ‘[t]he central concept is that of ‘fair

warning’: The law can be clearly established despite notable factual distinctions

between the precedents relied on and the cases then before the Court, so long as the

prior decisions gave reasonable warning that the conduct then at issue violated



F.3d 763, 769–70 (8th Cir. 2016) (“Wallace did not pose an immediate and significant threat
of serious injury to Cummings or bystanders because he may not have committed any
violent felony, the physical struggle was minimal, and he was not “holding a firearm” when
he attempted to flee.”); Kirby v. Duva, 530 F.3d 475 (6th Cir. 2008) (denying qualified
immunity in deadly force case because, despite car chase and other facts, the officers were
not in danger if plaintiffs’ account was accepted).



                                            29
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 41 of 69



constitutional rights.’” (quoting Kinney v. Weaver, 367 F.3d 337, 350 (5th Cir. 2004)

(en banc) (quoting Hope v. Pelzer, 536 U.S. 730, 740 (2002)).

      C. Material Disputes of Fact Preclude Granting Summary Judgment
         On Plaintiff’s Deadly Force Claim

      Defendant Castro’s motion is particularly problematic because, despite the

known existence of material facts, it simply ignores them and plows forward with

Castro’s self-serving version of events.

      Castro’s account is contradicted in fundamental ways by the objective

forensic evidence. And, nearly every material fact related to the shooting is

disputed. Castro claims that he “reasonably believed that” Jordan Baker “posed an

immediate threat to his safety when [Mr. Baker] ran at him in a crouched position

because [Mr. Baker] had assaulted him seconds prior and . . . was reaching for his

waistband, a known common location for concealing a weapon, as he ran towards

him.” Br. 23. Plaintiff disputes that Baker was charging at the officer; disputes that

Baker ran at the officer in a “crouch”; disputes that Castro was assaulted; disputes

that Baker was reaching for his waistband; and the list goes on.

      Some of these disputes of material fact include:

      1. Disputes Concerning Whether Baker Was Running Away From Or
         Charging At the Officer

      Putting aside the entirely incredible notion that an unarmed, half-naked

civilian in sandals would charge headlong at a police officer pointing a gun at him,

the parties disagree sharply about whether Baker was moving away from the officer

or, as Castro claims, charging directly at him.



                                           30
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 42 of 69



       Castro’s account is that, after running behind the building, Baker stopped

and “turned to face me”; that Baker “was facing me directly and obviously knew

that I had him at gun point”; that Baker said “I’m not going to jail!”; and then began

charging towards the officer. Ex. 4, at 2, Ex. 5, at 4.

       Castro’s account is contradicted by the physical evidence. To start, the

autopsy report makes it clear that the wound trajectories are significantly left to

right; essentially a side-body shot, not one consistent with someone facing the

officer directly and charging at him. See Ex. 10. The medical examiner who did the

autopsy on Mr. Baker agreed that the front-to-back trajectory was “fairly shallow,”

i.e., “tangential” and not front to back directly. Ex. 12, at 32. As Dr. Arden put it,

the “trajectory of the gunshot wound to Mr. Baker was predominately to his right,

with much lesser components of travel backwards and downward” Arden Report at

4.

       Given the angles, Baker could not have been facing directly at Castro and

then charging at him, as Castro claimed. Indeed, in examining the autopsy report

and other evidence, “the trajectory of the fatal gunshot wound . . . is directly

contrary to the trajectory of the bullet wound that would result from the relative

positioning in the account given by” officer Castro. Ex. 11, at 4. Indeed, the “actual

trajectory . . . indicates that [Mr. Baker] was largely turned sideways to the gun

when it was fired.” Ex. 11, Arden Rebuttal Report at 2.

       Contrary to Castro’s account, the predominately left-to-right trajectory is

consistent with Mr. Baker moving away from the officer. Ex. 11, Arden Report at



                                           31
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 43 of 69



6. Put differently, “the evidence is consistent with Mr. Baking turning away and to

the right from the officer at the point he was shot.” Id. at 4.

      Both sides also have retained reconstruction experts who have weighed in on

the bullet trajectories. Plaintiff’s expert, Brian Weaver, opined that Baker’s torso

was rotated clockwise in the axial plane—aka, turned to the right—with respect to

Officer Castro’s weapon, “which is consistent with a scenario in which Mr. Baker

was rotating his body clockwise and away from Officer Castro while attempting to

accelerate in the opposite direction at the time Officer Castro discharged his

weapon.” Ex. 13, at 4. As a consequence, “the physical evidence is inconsistent with

Castro’s account regarding the location and posture of Mr. Baker when he

discharged his weapon.” Id. (“The physical evidence is inconsistent with Officer

Castro’s statement, affidavits, deposition testimony and grand jury testimony

regarding the location and the posture of Mr. Baker when he discharged his

weapon.”). Tellingly, Defendants’ own reconstruction expert has not opined that the

evidence is consistent with Baker directly charging at Castro as the officer claims.

Indeed, Mr. Priest agrees that the wound trajectory requires Mr. Baker to be

“bladed” to the right, consistent with Dr. Arden’s opinion. And, Mr. Priest even

made an anatomical model that, especially when taking all inferences in Plaintiff’s

favor, plainly shows that the wound trajectories contradict Castro’s claim that

Baker was charging directly at him when he discharged his firearm:




                                           32
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 44 of 69




      In plain terms, Castro claims that Baker was charging directly at him, and

that claim is contradicted by the wound trajectory in significant respects. Summary

judgment is improper on this basis alone.

      2. Disputes Concerning Baker’s Location At the Time of the
         Shooting

      In his motion, Officer Castro has ignored another material important fact:

the location of Baker when the shots were fired. Baker’s location relates directly to

the trajectory issues concerning the left-to-right angles discussed above, but also

relates to the slightly downward trajectory of the wound. Indeed, summary

judgment is entirely improper because Castro has changed his account about the

location of Baker at the time he discharged his weapon since this litigation began.

      Initially, in his statements to the department and in his grand jury

testimony, Castro claimed that Jordan Baker was on the grass north of the Bayou,


                                          33
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 45 of 69



which is next to a storage center. Ex. 6, at 33; Ex. 16, Brady Dep., at 130; Ex. 17,

Becker Dep. at 52-54. In other words, Castro fired north at Baker who had passed

the alley and was next to the storage center, but began to charge the officer while

running south, toward that alley. The pulled back perspective of the entire location

looks like this:




       On the northeast corner of the strip mall there is a bayou that runs at a

southwest angle along the side of the building. The alley runs east to west. On the

north side of the alley is the storage facility; on the south side of the alley is the

back side of the 5700 W. Little York strip mall. Zoomed in, the area looks like this:
                                            34
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 46 of 69




      Officer Castro claimed initially claimed that Baker was well onto the grass

area north of the concrete alley when Baker stopped running. Ex. 6, at 84-85.



                                                                            ). Castro

also told this to others the night of the shooting, indicating that Jordan Baker was

well onto the grassy area and that he turned around, directly faced Castro, and

started charging at him, which is when Castro shot Baker. Ex. 17, at 54. Lt. Becker




                                         35
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 47 of 69



puts Baker and Castro on the approximate location of the cars, right next to the

storage facility, located in the following picture:




Castro repeated these statements—that Baker was near the storage facility—at his

deposition in this matter. Ex. 7, at 218-219.

Without the police cars, that area looks like this:




                                           36
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 48 of 69



      The problem with Castro’s account is that it is contradicted by the physical

evidence, and the “physical evidence is going to override” Castro’s statements. Ex.

19 at 93. The physical evidence indicates: Jordan Baker was not north of the alley

in the grass next to the storage facility when he was shot. And, Castro was not

facing north, when he shot Jordan Baker, as he claimed. Instead, the physical

evidence shows that Baker was down the alley and Castro was facing west.

      To elaborate: the night of the shooting, HPD crime scene analyst Officer

Menefee documented important physical evidence about the shooting: (1) a spent

gun cartridge, (2) one of Jordan Baker’s sandals, (3) a trail of blood near the

building and going west down the alley, and (4) the location of Mr. Baker’s body.

Exhibit 23, at 19-20; see also Ex. 8, at 611 (showing the bullet casing marked as “1”

with Baker’s body in the distance); id. at 615 (from the perspective of the location of

the bullet casing); id. at 649-51, 653-57 (documenting Baker’s body and the trail of

blood); id. at 664 (showing the sandal, blood trail, and bullet casing in the distance);

id. at 667 (showing the alley with markings).




                                          37
      Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 49 of 69



         As a result, Officer Menefee created the following map: 10




Ex. 23, at 66-68 (discussing maps).

         All of the expert testimony in this case that bears on this issue—including

Castro’s own expert—puts Baker to the west of Castro at the time of the shooting.

The key points here are the location of the spent bullet casing and the beginning of

the trail of blood. Castro’s own expert put it this way: “Mr. Baker’s position at the

moment of firearm discharge must exist between the position of Officer Castro and

the beginning of the undocumented blood trail.” Ex. 18, at 13. Plaintiff’s experts

reached similar conclusions. See Ex. 13, at 21, 26-27; Ex. 11, Arden Report at 5.

         That being the case, contrary to Castro’s testimony, the physical evidence

indicates that Castro fired his weapon while facing to the west not the north. As

Castro’s expert put it, “the strongest statement I can make regarding Officer

Juventino Castro’s position at the time of the firearm discharge is he was facing the

10   The number 1 on the map is the shell casing, and the number 2 is the sandal.
                                              38
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 50 of 69



location of Mr. Baker looking westerly in the scene” Priest Report, at 13. And, Mr.

Priest further opined that there is absolutely no evidence to support the idea that

Baker was standing on the grass (as pictured above) at the time of the shooting. See

Priest Dep. at 170 (“Q: It’s your opinion that [Jordan Baker] was in the alley,

correct? A: Yes.”); id. at 170-71 (discussing photographs of the grassy area further to

the north of the alley, including the picture above, and when asked “it is not your

opinion that . . . that is where the shooting took place,” answering: “I don’t have any

evidence to support that.”). These essential material facts—the location of Baker

and the direction Castro was shooting—are thus in conflict by Castro’s own expert’s

testimony.11 That should end the matter as it concerns summary judgment

altogether.

        In addition to being a significant, material difference about where the

shooting happened, the fact that Baker was to the west also pertains to, and

undermines, Castro’s claim that he was “charging” at him. When coupled with the

trajectories, the location of Baker in the alley and very near the back of the building

and turned significantly to his right further supports the Plaintiff’s version of

events that Baker was moving away from the officer when he was shot; otherwise

Baker would have been moving into the side of the building. Accordingly, the fact

Baker was at or very near the beginning of the blood trail, right near the side of the

building, and the fact that he was turned in such a strong angle to the right

11Plaintiff’s experts agree. In addition, the inference from the physical evidence without the retained
experts also strongly supports an inference that Baker was shot in the alley, not on the grass.
Accordingly, this fact would still be in material dispute if Castro’s expert had not issued this opinion,
both on account of Plaintiff’s experts and, tellingly, even if they had not been retained at all. Cf.
Baulch v. Johns, 70 F.3d 813 (5th Cir. 1995) (finding dispute of fact based upon autopsy report).

                                                   39
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 51 of 69



confirms what we saw with the trajectory evidence—Baker was moving away from

the officer. Mr. Weaver’s illustration, illustrating Plaintiff’s version of events, is

perhaps helpful:




The evidence also further supports an inference that Baker was moving away from

the officer because, by moving to the west away from the officer, he could have had

a chance of escaping, and his course of travel after being shot is consistent with

continuing in that direction.12




12 That Baker was west of Castro, down the alley, is of further significance because of the
fact that, from where the bullet casing was found, the grassy area to the north is an upward
slope, while the alley is a downward slope. See Ex. 29, Weaver Dep., at 198; Ex. 11, Arden
Report at 4; Ex. 22, Torres Dep. Ex. 4.
This presents a further disputed issue of fact, on Castro’s testimony alone. Before this
litigation began, Castro testified that Baker was “charging towards” him, which is when he
reached for his waistband. Ex. 5, Internal Affairs at 3; Ex. 4, Homicide Statement at 3. In
his prior testimony, Castro never claimed that Jordan Baker was “crouched” as he now
claims. Instead, Castro testified that Baker was in a “dead sprint,” Ex. 6, Grand Jury
Transcript at 89, and he was “running upright,” i.e., making the “usual movements . . .
people make as they run.” Id. at 92-93.
                                            40
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 52 of 69



       3. Disputes Concerning the Video and Whether Baker—Unarmed
          and Unclothed—Was Ever a “Threat”

       Officer Castro has advanced the notion that Baker charged at him while

screaming he wasn’t going to jail, even though the officer pointed a gun at him. In

addition to the objective basis for challenging this claim based upon the wound

trajectories and scene evidence, Castro’s highly improbable account, is further

undermined by several other material evidence.

       First is the video of the lead-up to the shooting. The crucial part here is the

lengthy period of time Castro and Baker interacted in the well-lit parking lot. On

Plaintiff’s viewing, it is only after Officer Castro draws his weapon that, after

walking away, Baker turns around to run. Indeed, Castro now admits that he drew

his gun at Baker while they were face to face in the parking lot. This supports the

strong inference that Baker was not about to “attack” the officer but instead was

afraid for his life.

       Second, this video undermines Castro’s claim that he believed Baker was

armed. Castro had the opportunity to see Baker in a well-lit area without any shirt

on, and he was able to observe both his back and his front. Castro claims he was

afraid of weapons and his life certainly had an incentive to be looking for possible

weapons and it is fair to infer that he did not see any sort of weapon based upon his

opportunity, especially as a trained officer who had the chance to view Baker

shirtless from the front and back. This is the same sort of inference Castro suggests

the Court should make about whether Baker knew he was an officer. See Br., at

p.15 ¶20 (“The evidence establishes that the Decedent knew or should have known

                                           41
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 53 of 69



that Castro was a police officer because Castro was in full police uniform at all

relevant times. . . .”). Indeed, Garner is directly on point. There, he stated that the

suspect “appeared to be unarmed,” but he “could not be certain that was the case.”

471 U.S. at 20. The Court explained, “Restated in Fourth Amendment terms, this

means [the officer] had no articulable basis to think Garner was armed.” Id. This

fact is certainly part of the assessment of material evidence here.13

       The only aggressive thing Baker ever did was swear at Castro. Ex. 9,

Magnolia Martinez Statement. And as depicted in the video—where Baker and

Castro slowly move across the parking lot—Baker was acting passive, tentative,

and obviously afraid. Nor did Castro claim that he saw some sort of “bulge” in the

pants. On the totality then, Plaintiff submits the inference in Plaintiff’s favor that

flows from all of this evidence is that Baker was not reasonably at threat at all: he

was unarmed, wearing sandals, and had no shirt on.

       Third, the fact that Baker was actually unarmed certainly matters and is

relevant to assessing the credibility of Castro’s story. Castro’s claim that the fact

that Baker was unarmed is “irrelevant” is an impossible leap. It is undisputed that

Baker was on foot, and that he was shirtless before he ran into the alley. In that

period of time, Baker and Castro interacted for nearly 30 seconds in a well-lit area


13Castro cites Reese v. Anderson, 926 F.2d 494, 501 (5th Cir. 1991), for the proposition that
the fact that Baker was not actually armed is “irrelevant.” Reese did not ever hold—
contrary to Supreme Court precedent in Garner—that the fact that a suspect is unarmed is
necessarily irrelevant. Instead, Reese involved a situation of a suspect inside of a car where
the officer thought he was reaching under a seat out of the officer’s “line of sight,” unlike
the circumstances here. Manis v. Lawson, 585 F.3d 839 (5th Cir. 2009). There, the officer
had no way of knowing whether the suspect was actually armed because he had not had the
opportunity to view him.
                                             42
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 54 of 69



in the parking lot. Ex. 3 at 20:41:38-20:43:01; Ex. 8, at 553, 555. Officer Castro

claims that he thought Baker was reaching for a weapon despite all of that, but this

makes little sense. And, Plaintiff submits, this is circumstantial evidence

undermining Castro’s account. As Cruz explained:

       In this case, there’s circumstantial evidence that could give a
       reasonable jury pause. Most obvious is the fact that Cruz didn’t have a
       gun on him, so why would he have reached for his waistband? Cruz
       probably saw that he was surrounded by officers with guns drawn. In
       that circumstance, it would have been foolish—but not wholly
       implausible—for him to have tried to fast-draw his weapon in an
       attempt to shoot his way out. But for him to make such a gesture when
       no gun is there makes no sense whatsoever. A jury may doubt that
       Cruz did this. Of course, a jury could reach the opposite conclusion. It
       might believe that Cruz thought he had the gun there, or maybe he
       had a death wish, or perhaps his pants were falling down at the worst
       possible moment. But the jury could also reasonably conclude that the
       officers lied.

765 F.3d at 1079-80. See also Sherrod v. Berry, 856 F.3d 802 (7th Cir. 1988 ) (en

banc) (Further, “impeachment by contradiction is a technique well recognized in the

federal courts by which specific errors in the witness’s testimony are brought to the

attention of the trier of fact.” For example, if an officer testifies that “I saw a shiny,

metallic object similar to a gun or a dangerous weapon in the suspect’s hand,” then

proof that the suspect had neither gun nor knife would be material and admissible

to the officer’s credibility on the question of whether the officer saw any such thing

(and therefore had a reasonable belief of imminent harm.”); Pierre ex rel. Pierre v.

Hardy, 2014 WL 454945, at *5 (E.D. La. Sept. 12, 2014) (“Although there is no

witness statement to contradict Deputy Hardy directly, some of the circumstantial

evidence would allow a rational finder of fact to conclude that he used excessive



                                            43
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 55 of 69



force.”) (citing Samples on Behalf of Samples v. City of Atlanta, 846 F.2d 1328, 1332

(5th Cir.1988)).

      Likewise, in Samples, the Court carefully noted the circumstantial evidence

could support multiple inferences, and reversed a grant of summary judgment on

that basis. 846 F.2d at 1332; cf. Bridges v. Wilson, 718 F. App’x 636, 641–42 (10th

Cir. 2017) (“Since a jury could discount Wilson’s credibility—in part, because there

was “circumstantial evidence” that could discredit Wilson’s version of the events—

the district court concluded there were genuine issues of material fact.”).

      In short, the fact that Baker was unarmed, was shirtless, and was wearing

sandals undermines Castro’s impossible testimony. The video of their interactions

also impeaches his account. Thus, when examined alongside the objective above

discussed evidence—the bullet trajectories, the blood evidence, the video—the fact

that Baker was unarmed, unclothed, and wearing sandals is not just relevant; it is

independently sufficient to illustrate material disputes of fact that preclude

summary judgment.

      4. Disputes Whether Castro Fabricated the “Waistband” issue as
         Excuse He Knew Would be Credited

      As explained above, Plaintiff disputes that Baker was reaching for his

waistband while charging at Castro. On Plaintiff’s facts, Baker was moving away

and trying to run down the alley.

      Putting the cards on the table, Plaintiff’s position is that Castro made up the

idea that Baker reached for his waistband in an attempt to justify his actions.

Castro was the only living witness to the shooting, and Castro knew he would have

                                          44
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 56 of 69



to give an account of what happened that would justify his conduct. In the hours

and days after the shooting, Castro has given accounts that made his actions appear

justified, but later proved to be demonstrably false; he explicitly changed his

testimony after reviewing the video of the incident. And, he has changed it again in

this litigation by claiming that Baker “crouched” as he ran at him. The statements

must be viewed in their context. Cf. United States v. Hackett, 638 F.2d 1179, 1186–

87 (9th Cir. 1980) (false exculpatory statements admissible to show consciousness of

guilt); United States v. Lomprez, 472 F.2d 860, 863 (7th Cir. 1972) (same).

      As mentioned above, and worth emphasizing here: “in the deadly force

context, we cannot ‘simply accept what may be a self-serving account by the police

officer.’ Because the person most likely to rebut the officers’ version of events—the

one killed—can’t testify, “[t]he judge must carefully examine all the evidence in the

record ... to determine whether the officer’s story is internally consistent and

consistent with other known facts.” This includes “circumstantial evidence that, if

believed, would tend to discredit the police officer’s story.” Cruz v. City of Anaheim,

765 F.3d 1076, 1079 (9th Cir. 2014)

      The background pattern and practices in the department also influenced

Castro’s decisions. Specifically, the statistical evidence shows that one frequently

invoked reason for shooting a civilian in Houston is some sort of gesture, and

frequently something like reaching for a pocket or a waistband. Indeed, for all

officer-involved shootings between 2009 and 2014, invoking a gesture as a

justification happened in over 20% of cases. Ex. 15, at 20. The more telling fact,



                                          45
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 57 of 69



though, is that a whopping 71.4% of the time that justification was invoked, the

suspect was unarmed. And, instances in which HPD officers have been involved in

extremely controversial, troubling shooting incidents, HPD officers have absolved

themselves by claiming that the suspect gestured, and including by gesturing at

their waistband. See id. See also, Ex. 24, at 24. These incidents are also well

publicized. In the end, they support a department culture where Castro knew, as he

consulted with his lawyer before making a statement, that claiming Baker “reached

for his waistband” was the sort of justification that could keep him from being

criminally charged or ever disciplined. And, that is exactly what happened.

      Viewed through this lens, Castro’s comments about the “waistband”—and the

lack of corroboration—must be viewed in the broader context, which supports an

inference that, as Plaintiff claims, Castro invented the “waistband” thing as a post-

hoc justification that is actually false. Put differently, Baker being unarmed, from

Plaintiff’s view, is an important reason why Castro endeavored to tell the story in

the way he did.

      5.     Disputes About Baker’s Injuries

      Defendant Castro does not address, at all, the non-fatal injuries Jordan

Baker suffered. Ex. 10, at 3-5, 10-11. On Plaintiff’s facts, Jordan Baker was knocked

off of his bicycle by Castro (something Castro denies) and tripped while running in

the alley before he was shot. The latter scenario is relevant to Plaintiff’s deadly

force claim because, if Baker was substantially wounded, shirtless, and unarmed,

that makes it even more unlikely that Baker would have, as Castro contends,



                                          46
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 58 of 69



charged at the officer. In addition, the fact that Baker was shot in the alley, as

opposed to by the grassy area by the storage facility, illustrates that Castro’s

testimony is contradicted by the evidence in another way: it is unlikely that Castro

saw Baker the entire time he was running because you cannot see down the entry to

the alley way when crossing past the side of the building. See, e.g., Ex. 8, at 564.

      6.     Baker Was, At Most, A Misdemeanor Suspect.

      In his brief, Castro tries to shoe-horn in the interactions in front of the strip

mall as part of his calculus. If the idea is that this threat “carried over” to the back

alley, such an argument would be improper. The inquiry about the use of force is

the threat, if any, at the moment of the use of force. See Mason, 806 F.3d at 276.

And, the inquiry on deadly force—as opposed to excessive force more generally—is

constrained to whether Baker posed a serious threat of physical harm to Castro. See

Bazan, 246 F.3d at 488, 493.

      Taking the facts in the light most favorable to Plaintiff—where there is no

evidence that Castro and Baker actually collided—and the video of the moments

immediately thereafter do not show any physical contact between Castro and Baker

(in fact, they show the opposite), Plaintiff submits that there was still absolutely no

reasonable suspicion of any crime.

      But, Castro does not even take his own testimony in the light most favorable

to Plaintiff, which is an error. Castro testified that after Baker was on his knees,

and after having a gun pointed at him, Baker stood up. At this point, they collided

as Baker was trying to get away. In so doing, Baker did not threaten Castro. Nor



                                           47
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 59 of 69



did he punch or attack him. Instead, he tried to get away from the officer. Castro

claims that Baker’s shoulder collided with him in the process. It is undisputed that

Castro suffered no injury. Castro Dep at 114-15. At most, then, this was a

misdemeanor under Texas Penal Code § 22.01, even on the officer’s account. See

Texas Penal Code § 22.01(a)(3) (defining “intentional or knowing” “physical contact

with another person”). Such a misdemeanor militates against the use of force. See

Trammell v. Gruge, 868 F.3d 332, 340 (5th Cir. 2017) (finding a misdemeanor a

minor offense militating against the use of force) (citing Reyes v. Bridgwater, 362 F.

app’x 403, 407 n.5 (5th Cir. 2010) (finding the ‘severity factor’ from Graham

militated against the use of force where the alleged crime was a misdemeanor).14

        The video of Baker walking away from the officer, and their subsequent

interaction in that video, casts strong doubt on the officer’s account. Even if there

were some sort of “threat” the fact that Castro and Baker were standing feet apart

for nearly 30 seconds before Baker ran, and that Castro did not immediately follow

illustrates that there was absolutely no reason to believe that Baker’s act of

standing up was some sort of violent or assaultive attack.

        D. Summary Judgment Is Improper, Even On Qualified Immunity
           Grounds, Due to the Extensive Material Factual Disputes

        As the Fifth Circuit has frequently commented in excessive force cases, where

“the material facts underlying [an] incident are hotly disputed,” only a jury can

resolve those disputes. Summary judgment cannot be granted. Baulch v. Johns, 70



14In the motion, Castro suggests that Baker had committed a third-degree felony of assault of a
police officer. Br. At 16. This is a baseless assertion, even on Castro’s own testimony, because there
was absolutely no injury—just contact. See TEXAS PENAL CODE § 22.01(a)-(b).

                                                  48
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 60 of 69



F.3d 813 (5th Cir. 1995); see also Lytle, 560 F.3d at 417 (“[I]t is the job of the

factfinder, not [the] court, to ultimately resolve the factual disputes and make

inferences that fill the gaps in the facts.”).

       The sorts of factual disputes in this record are precisely those Courts find

preclude summary judgment. In Meadours v. Ermel, for example, police officers shot

and killed a mentally disturbed man who had a screwdriver but who had, at some

point, climbed onto a dog house. 483 F.3d at 420-21. The officers claimed that the

man charged at the officers with the screwdriver, and the plaintiff presented

evidence that a bullet entered the victim’s thigh at an upward angle, supporting the

notion he was atop the doghouse when he was shot. Id. at 421 & n.2. Affirming the

denial of summary judgment, the Fifth Circuit explained that “in order to determine

reasonableness in the case at bar, several key factual disputes must be resolved,”

which included whether the victim was shot “while charging” at the officer or still

atop the doghouse, posing no imminent threat. Indeed, and particularly salient

here, the Fifth Circuit found that “the question of when and where [the victim] was

shot is integral to determining whether the officers’ actions were reasonable, and,

consequently,” the dispute about those facts was material. Id. at 423. The disputed

facts meant that the officers were not entitled to qualified immunity. Id. at 423 n.5.

       The same is true here—the questions about Baker’s location and what was

happening at the time are “integral” to determining the reasonableness of Castro’s

actions, rendering summary judgment unavailable. See also Lytle v. Bexar County,

560 F.3d 404 (5th Cir. 2009) (where an officer shot and killed a passenger in a car,



                                            49
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 61 of 69



and the officer claimed that the car backed toward him, the district court found that

the parties “genuinely disputed the direction and distance” that the car traveled

when the officer fired”).

      Indeed, the Fifth Circuit has found summary judgment inappropriate based

upon disputed facts related to autopsy reports and other medical evidence—without

the additional evidence that Plaintiff has adduced here. In Baulch v. Johns, 70

F.3d 813 (5th Cir. 1995), the Court found that an autopsy report showed a disputed

issue of fact as to whether the officer was acting in self-defense or whether the

suspect was retreating from the officer, analogous to this matter. The Fifth Circuit

affirmed: “Faced with conflicting evidence, the district court determined that there

was a genuine issue of material fact concerning the lawfulness of the force

employed” by the officer. Id. 70 F.3d at 815. Similarly, in Baker v. Putnal, the Court

found that a genuine issue of fact precluded summary judgment based, among other

things, on the medical examiner’s report given that the “nature of the wounds

indicate that Baker, Jr. was not facing [the officer] when he was shot,” which was a

“more of a question of fact than a court may dispose of on summary judgment.” 75

F.3d 190, 198 (5th Cir. 1996).

      The foregoing cases also make clear that a police officer is not entitled to

qualified immunity where facts related to the underlying constitutional violation

are disputed. Other circuits have reached the same conclusions. See, .e.g, Dufour-

Dowell v. Cogger, 152 F.3d 678, 680 (7th Cir. 1998) (“Because the facts are in hot

dispute, the officers cannot seek pretrial refuge behind a claim of qualified



                                          50
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 62 of 69



immunity. Raising a defense of qualified immunity in the face of disputed facts that

control the answer to the question is a waste of everybody’s time.”); Zia Trust Co. ex.

rel. Causey v. Montoya, 587 F.3d 1150, 1155 (10th Cir. 2010) (denying summary

judgment and qualified to officer upon determining that the officer did not have

probable cause to believe there was a serious threat of serious physical harm);

Ellison v. Lesher, 796 F.3d 910, 916-917 (8th Cir. 2015) (denying summary

judgment in deadly force case where disputed facts were, from the officer, that

plaintiff had charged at him, waived a weapons, and allegedly disobeyed multiple

commands from the officer, and instead crediting Plaintiff’s account that he was not

wielding the cane, and concluding that if the officer shot plaintiff “while he was

simply standing in his apartment and holding no cane, then there were no

reasonable grounds to believe that [plaintiff] posed a serious threat of death or

serious physical injury to the officers or others”); Williams v. Village of Maywood,

2016 WL 4765707, at *5-*6 (N.D. Ill. Sept. 13, 2016) (denying summary judgment

where disputed fact was whether victim of shooting had a gun or was unarmed).

      E. Castro Violated The Constitution By Refusing to Provide Medical
         Care to Jordan Baker After Shooting Him

      Regardless of whether a jury ultimately determines that Castro’s decision to

shoot an unarmed, partially-clothed civilian is justified, it is undisputed that when

Baker was shot he was “seized.” Garner, 471 U.S. at 7.

      Individuals seized by police officers have a right to “basic human needs,

including medical care” under the constitution. Hare v. City of Corinth, Miss., 74

F.3d 633, 650 (5th Cir. 1996). There is ample reason to believe that such claims


                                          51
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 63 of 69



should be analyzed under a completely objective standard under the Fourth

Amendment. See, e.g., Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015) (objective

standard for force claims even when in pretrial detention); Currie v. Chhabra, 728

F.3d 626, 629 (7th Cir. 2013) (“Fourth Amendment’s ‘objectively unreasonable’

standard [applies] to both ‘conditions of confinement’ and ‘medical care’ claims

brought by arrestees who have not yet had their Gerstein hearing.”).15

       Before Kingsley, and in this Circuit, a seized individual’s constitutional right

to medical care is violated where “an officer acts with deliberate indifference to a

substantial risk of serious medical harm and resulting injuries”; mere negligence is

not enough. Mace v. City of Palestine, 333 F.3d 621, 625 (5th Cir. 2003). That said, a

“government official’s knowledge of a substantial risk of harm may be inferred if the

risk was obvious.” Baldwin v. Harris Cty. Sheriff Dep’t, No. 4:16-CV-2966, 2018 WL

496957, at *3 (S.D. Tex. Jan. 19, 2018) (citing McIntosh v. Smith, 690 F. Supp. 2d

515, 528 (S.D. Tex. 2010) (in turn citing Farmer v. Brennan, 511 U.S. 825 (1994)).

       Here, there can be no doubt that Defendant Castro’s actions were objectively

unreasonable and illustrated deliberate indifference to Jordan Baker’s serious

medical needs. It is undisputed that Castro shot Baker through the heart and both

lungs. Ex. 10. It is undisputed that Castro did not attempt to undertake first aid or

perform any other emergency medical care. Ex. 7, at 58, 83-84; Ex. 4, at 4.

15A number of Courts have applied the Fourth Amendment reasonableness test to
emergency medical care claims, rather than analyzing them under a heightened standard
requiring “deliberate indifference” or some other form of subjective knowledge. See id. at
629-30 (citing Chambers v. Pennycook, 641 F.3d 898, 905 (8th Cir.2011); Aldini v. Johnson,
609 F.3d 858, 860 (6th Cir.2010); Pierce v. Multnomah Cnty., 76 F.3d 1032, 1043 (9th
Cir.1996); and Catherine T. Struve, The Conditions of Pretrial Detention, 161 U. PENN L.
REV. 1009, 1013 (2013)).
                                            52
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 64 of 69



      Instead, Castro arguably made matters worse: he handcuffed Jordan Baker’s

hands to his belt behind his back and left Baker to die, and possibly suffocate to

death while still bleeding, face down on the ground in a dark and rough alley. The

need for medical care was obvious, yet Castro did nothing.

      Castro’s motion, again, has failed to take the facts in the light most favorable

to Plaintiff. Here, it is undisputed that after shooting Baker Castro provided

absolutely no aid whatsoever. Castro watched Baker fall to the ground, and he

knew that the gunshot                           ” because Castro could hear Baker

                  Ex. 6, at 94. Rather than provide any aid, and recognizing that

Baker was still alive, Castro proceeded to handcuff Baker—face down—in the

gravel alley. Ex. 4, at 4. Castro did not even take his pulse, Ex. 7, at 83-84. Instead,

it was his training “just to handcuff him.” Id. at 84, and then Castro

              Ex. 6, at 138. In the next 4-5 minutes before EMTs arrived, Castro did

absolutely nothing to attempt to render any aid to Mr. Baker. Ex. 7, at 84-85.

      In defense of this claim, Castro’s only resort is to point to the fact that he

called 911. But this was plainly insufficient—the whole point of providing first aid

would be to attempt to keep Baker alive until the ambulance arrived, when those

officials could take over. But Castro made no attempt to do that, making his conduct

deliberately indifferent and unlawful.




                                           53
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 65 of 69



       F. Plaintiff’s Wrongful Death and Survival Claims Are Federal
          Claims

       Defendants inexplicably discuss state law immunity as it concerns Plaintiff’s

wrongful death and survival claims. But Plaintiff had pleaded these claims as

federal causes of action. See Second Amended Complaint, Dkt. 44, at 19-20.

       And they are well established. The Fifth Circuit has “consistently held that a

parent may recover damages analogous to state law wrongful death damages in a

§ 1983 action based on the violation of her child’s civil rights.” Flores v. Cameron

Cty., 92 F.3d 258, 271 (5th Cir. 1996) (citing Rhyne v. Henderson County, 973 F.2d

386, 391 (5th Cir.1992)). Such claims are properly brought on behalf of the estate

but also the surviving family member’s rights as well. Id.; see also, e.g., Robinson v.

Johnson, 975 F. Supp. 950, 954 (S.D. Tex. 1996) (“The Fifth Circuit has held . . .

that a parent may recover damages for “mental anguish, suffering and loss of

companionship, contribution, society, affection and comfort” in a § 1983 action based

on the violation of her child’s civil rights that resulted in his death.”).

       In assessing these claims, the federal court looks to the applicable state law—

here the state law of Texas—for gap-filling as to who can bring the claims. Rhyne,

973 F.2d at 391. “The Texas Civil Practice and Remedies Code provides that only

“the surviving spouse, children, and parents of the deceased” may bring an action to

recover damages for wrongful death. Dyer v. City of Mesquite, Texas, 2017 WL

118811, at *13 (N.D. Tex. Jan. 12, 2017) (quoting TEX. CIV. PRAC. & REM. CODE §

71.004 (West, Westlaw through 2015 Sess.).




                                            54
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 66 of 69



      Plaintiff’s claims here are proper. As in Dyer, Plaintiff’s claims are advanced

on behalf of the Estate, J.B., and Janet Baker. Plaintiff’s allegations and evidence

concerning both J.B. and Janet Baker meet the standard enunciated in the

applicable cases (interpreting Texas, as opposed to another state or circuit’s law).

See, e.g., Robinson, 975 F. Supp. at 954 (“In order to successfully maintain a claim

for loss of parental consortium resulting from injury to the parent-child

relationship, the plaintiff must show that the defendant physically injured the

child’s parent in a manner that would subject the defendant to liability. The child

may recover for such nonpecuniary damages as loss of the parent’s love, affection,

protection, emotional support, services, companionship, care, and society. (citation

omitted)); cf. Turk v. Mangum, 268 F.Supp.3d 921, 932 (S.D. Tex. 2017) (discussing

the applicable standards).

      In sum, there should be no doubt that Plaintiff—as the administrator of

Baker’s estate and in her own right—has “standing to bring survival and wrongful

death actions under 42 U.S.C. § 1983.” Estate of Sizer by & through Sizer v.

Cameron, No. A-15-CA-01143-SS, 2017 WL 2418316, at *1 (W.D. Tex. June 1, 2017)

(citing Brazier v. Cherry, 293 F.2d 401, 406-07 (5th Cir. 1961) (incorporating both a

state’s survival statute and its wrongful death statute to provide full remedies for §

1983 violations), and King ex rel. Chaney v. Texas Med. Bd., 576 F. App’x 353, 354–

55 (5th Cir. 2014)).

      Defendants’ conclusory argument, which cites the wrong area of law, should

be ignored and the motion denied.



                                          55
     Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 67 of 69



       As a related matter, the foregoing also forecloses Defendant Castro’s

argument that Ms. Baker and J.B., Jordan Baker’s son, are prevented from seeking

damages under § 1983 under a wrongful death theory. See Br. At P. 21, ¶¶32-34. To

the contrary, Janet Baker, individually, is represented in this lawsuit. See Second

Amended Complaint, Dkt. 44, at ¶8. J.B.’s interests are maintained therein as well.

Id. Defendants claim that “there is no evidence” that J.B. is Baker’s son other than

conclusory statements in the complaint. Not so. For one, this ignores Janet Baker’s

sworn deposition testimony, as well as her interrogatory responses, and other

evidence (including the probate proceedings). See Ex. 1, at 41, 52.16

       In addition, the law cited above illustrates that Defendants’ reliance upon a

court in another state applying the law from another circuit is inapposite. Here, as

a case arising out of Texas and the Fifth Circuit, Fifth Circuit law, with gaps filled

by Texas law, applies here. Under that established law, Plaintiff’s wrongful death

and survival claims can proceed under §1983. Robinson, 975 F. Supp. at 954.

                                     CONCLUSION

       Plaintiff respectfully requests that this Court deny Defendant Castro’s

motion for summary judgment and set this matter for trial.




16 Defendants’ argument is so tangential and cursory that it should be rejected on that basis
alone. Cf. Rutherford v. Harris County, Texas, 197 F.3d 173, 193 (5th Cir.1999) (noting that
“we will not consider an issue that is inadequately briefed”).Regardless, Plaintiff has not
endeavored to obtain and provide to the Court the probate proceeding documents for the
sake of judicial economy. Should the court desire additional evidence on this issue, Plaintiff
is happy to provide.
                                             56
 Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 68 of 69



                                         RESPECTFULLY SUBMITTED,


                                         /s/ David B. Owens
                                         One of Plaintiffs’ Attorneys



Jon Loevy                               Billy Joe Mills
Mark Loevy-Reyes                        FIRMEQUITY
David B. Owens                          858 West Armitage Avenue
LOEVY & LOEVY                           Suite 101
311 N. Aberdeen St., 3rd Fl.            Chicago, IL 60614
Chicago, IL 60607                       (847) 207-9064
(312) 243-5900




                                   57
   Case 4:15-cv-03495 Document 147 Filed in TXSD on 05/09/18 Page 69 of 69



                          CERTIFICATE OF SERVICE


       I, David B. Owens, an attorney, hereby certify that on May 9, 2018, I filed the
foregoing using the Court’s CM/ECF system, which effected service on all counsel.


                                              /s/ David B. Owens
                                              One of Plaintiff’s Attorneys




                                         58
